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U.S. DIST_ COUR
UNITED STATES DISTRICT COURT 5 S D T
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GLENN JOHNS ON,

Plaintiff,
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. . v_ER_D.IC_T_FO_LM
CORR_ECTION OFFICER SARAN PERRY
and CORRECTION OFFICER PEDRO
RODRIGUEZ,

Defendants.

 

 

WlLLIAl\/.[ H. PAULEY III, United States District Judge:
According to the principles of law as charged by this Court and the facts as you

find them, please answer the following questions:

l. Has Plaintiff proven by a preponderance of the evidence that he Was subjected to
excessive force on August 20, 2014, by either of the Defendants?

(a) Saran Perry YES NO g
(b) Pedro Rcdriguez YES NO ><
lf you answered “YES” to any part cf Question Nc. l, please proceed to Question No. 2.

If you answered “NO” tc all parts of Question No. l, please stop here and have the
foreperson sign and date the verdict sheet.

2. Has Plaintiff proven by a preponderance of the evidence that he is entitled to
compensatory damages as a result of being subject to excessive force by either of the
Defendants?

(a) Saran Perry YES NO
(b) Pedro Rodriguez YES NO

lf you answered “YES” to any part of Question No. 2, please proceed to Question No. 3.
If you answered “NO” to all parts of Question No. 2, please skip to Question No. 4.

 

  
  

 

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. What amount of compensatory damages do you award Plaintiff?

Compensatory Damages: $

. If you found Plaintiff did prove excessive force against any ofthe defendants (Question

No. l), but did not award compensatory damages (Question No. 2), you must award

nominal damages What amount of nominal damages (not to exceed $l) do you award?
Nominal Damages: l $

. Has Plaintiff proven by a preponderance of the evidence that he is entitled to punitive

damages as a result of being subject to excessive force by either of the defendants?

(a) Saran Perry YES NO

 

(b) Pedro Rodriguez YES NO
If you answered “YES” to any part of Question No. 5, please proceed to Question No. 6.
If you answered “NO” to all parts of Question No. 5, please stop here and have the
foreperson sign and date the verdict sheet.

. What amount of punitive damages do you award Plaintiff?

Punitive Damages: $

Please have the foreperson sign and date the verdict sheet and advise the Coart by note that you
have reached a verdict

Dated: October Lf, 2017

Signed:

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